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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-03792-MEH

GAVINO LUCERO,

      Plaintiff,

v.

SAFEWAY INC., A DELAWARE
CORPORATION and SEDGWICK
CLAIMS MANAGEMENT SERVICES, INC.

      Defendants.


           PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION
           TO REPLY TO DEFENDANT SEDGWICK’S RESPONSE
                 TO MOTIONTO AMEND COMPLAINT


      COMES NOW Plaintiff Gavino Lucero (“Plaintiff”), by and through counsel,

the Law Offices of John D. Halepaska, hereby moves this Honorable Court for a

two-week extension in which to file his Reply to Defendant Sedgwick

(“Sedgwick”)’s Response to Plaintiff’s Motion to Amend Complaint. As grounds

therefore, Plaintiff states as follows:
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                    CERTIFICATION – DUTY TO CONFER

      The Undersigned certifies to the Court pursuant to Local Rule 7.1 that he

conferred with counsel for Sedgwick via email prior to the filing of this Motion and

is authorized to state the relief requested herein is NOT OPPOSED.

                                     MOTION

      1.     Sedgwick filed its Response to Plaintiff’s Motion to File a Third

Amended Complaint on November 2, 2012, making Plaintiff’s Reply due TODAY,

November 16, 2021.

      2.     Due to the press of other business, including a five-day jury trial that

commenced on November 15, 2021, Plaintiff seeks this extension to file his Reply.

      3.     This Motion is not seeking an extension for any improper motive.

      4.     No party would suffer prejudice by granting this Motion.

      5.     The interests of substantial justice would be served by granting the relief

sought herein.

      WHEREFORE, for the reasons stated herein, Plaintiff humbly requests an

Order of this Court allowing an additional 14 days in which to file his Reply to

Plaintiff’s Response to Plaintiff’s Motion to Amend, or by November 30, 2021.

      Dated this 16th day of November, 2021.



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                                    Respectfully Submitted,


                                    s/ Joseph Ryan Riegerix
                                    Joseph R. Riegerix
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                                    Fax: (303) 496-0194
                                    joe@halepaskalaw.com
                                    Attorneys for Plaintiff




                        CERTIFICATE OF SERVICE

      I hereby certify that on November 16, 2021, I electronically filed the
foregoing MOTION FOR EXTENSION with the Clerk of Court using the
CM/ECF system which will send notification of such filing to the following email
addresses:

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                                              s/Jackie Johnson
                                              Jackie Johnson




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